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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

            Debtors.                                           (Jointly Administered)
    _______________________________/

      DEBTORS’ MOTION SEEKING ENTRY OF AN ORDER (I) AUTHORIZING THE
      DEBTORS TO PREPARE AND SUBMIT A SUPPLEMENT TO THE CREDITORS
        MATRIX IN DIFFERENT FORMAT AND GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (this “Motion”):

                                           RELIEF REQUESTED

             1.   The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”): (a) authorizing the Debtors to prepare a consolidated creditors matrix in

electronic format and PDF (the “Master Service List”) in lieu of submitting a separate mailing matrix

for each Debtor; and granting related relief. A copy of the Master Service List is attached hereto

as Exhibit B.

             2.   The Debtors propose to supplement the general mailing matrix the electronic

consolidated service list which includes creditors and parties-in-interest too voluminous to

manually enter into the standard matrix format at this time. Such creditors and parties-in-interest

include, by way of example, vendors with no payable account balance reflected the Debtors’

records, but may nevertheless may have a claim against the Debtors’ estates on interest in these


1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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proceedings.

       3.   The Debtors, as directed by the CRO, will also continue to update the electronic format

Master Service List to include more detailed contact information for creditors and parties in

interest not currently available.

                                    JURISDICTION AND VENUE

       4.      The United States Bankruptcy Court for the Southern District of Florida (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

       5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The statutory bases for the relief requested herein are sections 105(a), 107(c), and

521 of title 11 of the United States Code (the “Bankruptcy Code”), rules 1007, 2002, and 9013-1

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 1007-2, 5075-1,

and 9013-1 of the Local Bankruptcy Rules for the Southern District of Florida (the “Local Rules”).

                                         BACKGROUND

       7.      On October 28, 2024, the Debtors filed chapter 11 petitions with this Court. The

Debtors continue to operate their business and manage their affairs as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No committee or trustee has been

appointed in these cases.

       8.      Information regarding the Debtors business and the filing of these cases is set forth

in the Declaration of Jonathan Feldman in Support of Chapter 11 Petitions and First Day

Pleadings [ECF no. 16] (“CRO Declaration”).

       9.      The Debtors are moving towards the sale of their core business. See Expedited

Motion for (I) Entry of an Order (A) Approving Certain Bidding Procedures and Form and

Manner of Notice Thereof (B) Scheduling an Auction and a Hearing on the Approval of the Sale




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of or All or Substantially All of the Debtors' Remaining Assets, (C) Establishing Certain

Assumption and Assignment Procedures and Approving Manner of Notice Thereof, and (D)

Scheduling a Hearing to Approve Assumption and Assignment of the Assumed Contract (II) Entry

of an Order (A) Authorizing the Debtors' Entry Into an Asset Purchase Agreement; and (B)

Authorizing the Sale of All of Substantially All of the Debtors' Assets Frees and Clear of All

Encumbrances; (C) Entry of an Order Approving the Assumptions and Assignment of the Assumed

Contracts and (IV) Related Relief [ECF No. 60].

                                       BASIS FOR RELIEF

       I.       Cause Exists to Authorize the Debtors to Prepare a List of Creditors in Lieu
                of Submitting a Formatted Mailing Matrix.

       10.     Section 521(a) of the Bankruptcy Code, Bankruptcy Rule 1007(a)(1), and Local

Rule 1007-2(a) require a debtor in a voluntary chapter 11 case to file a list containing the name

and complete address of each creditor. In addition, Bankruptcy Rule 1007(d) requires a debtor to

file a list containing the name, address, and claim of the creditors holding the twenty largest

unsecured claims against the debtor.

       11.     Permitting the Debtors to maintain a consolidated list of their creditors (the

“Master Service List”) in electronic format only and submitting a PDF version to the Court, in lieu

of each Debtor filing a creditor matrix, is warranted under the circumstances of these cases.

Because the Debtors have over two thousand notice parties and other parties in interest, converting

the Debtors’ computerized information to a format compatible with the matrix requirements would

be a burdensome task and would greatly increase the risk of error with respect to information

already on computer systems maintained by the Debtors.

       12.     The Debtors are prepared to make the Master Service List available in electronic

form to any party in interest who so requests (or in non-electronic form at such requesting party’s



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sole cost and expense) in lieu of submitting a mailing matrix to the clerk of this Court.

         13.    Courts in various jurisdictions have approved relief similar to the relief requested

herein with respect to preparation of a consolidated, electronic list of a debtor's creditors. See, e.g.,

In re TPC Group Inc., et al., Case No. 22-10493 (CTG) (Bankr. D. Del. June 30, 2022); In re First

Guaranty Mortgage Corporation, et al., Case No. 22-10584 (CTG) (Bankr. D. Del. June 1,

2022); In re Frontier Commc'ns. Corp., Case No. 20-22476 (RDD) (Bankr. S.D.N.Y. May 26,

2020); In re Pareteum Corp., Case No. 22-10615 (LGB) (Bankr. S.D.N.Y. May 18, 2022); In re

Creative Hairdressers, Inc., et al., Case No. 20-14583-TJC (Bankr. D. Maryland April 27,

2020); In re SpeedcastInternationalLimited, etal., Case No. 20-32243 (MI) (Bankr. S.D. Tex.

April 23, 2020); In re MD Helicopters, Inc., et al., Case No. 22-10263 (KBO) (Bankr. D. Del.

April 20, 2022); In re Deluxe Entm't Servs. Grp., Inc., CaseNo. 19-23774 (RDD) (Bankr. S.D.N.Y.

Oct. 9, 2019); In re Patriot National, Inc., etal., Case No. 18-10189 (KG) (Bankr. D. Del. Feb. 1,

2018).

                                               NOTICE

         14.    The Debtors will provide notice of this Motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the holders of the 20 largest unsecured claims against

the Debtors; (c) the United States Attorney’s Office for the Southern District of Florida; (d) the

Internal Revenue Service; and (g) any party that has requested notice pursuant to Bankruptcy Rule

2002. The Debtors submit that, in light of the nature of the relief requested, no other or further

notice need be given.

                                       NO PRIOR REQUEST

         15.    No prior request for the relief sought in this Motion has been made to this or any

other court.




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       WHEREFORE, the Debtors respectfully request that the Court enter the Order granting the

relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

Dated November 26, 2024

                                              DGIM Law, PLLC
                                              Counsel for the Debtors
                                              2875 NE 191st Street, Suite 705
                                              Aventura, FL 33180
                                              Phone: (305) 763-8708

                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373
                                              Email: isaac@dgimlaw.com
                                              Monique D. Hayes, Esq.
                                              Florida Bar No. 0843571
                                              Email: monique@dgimlaw.com




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Motion was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 26 th day of November, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373




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               EXHIBIT A




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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                      Chapter 11

SHIFTPIXY, INC. et, al.1                                    Case No. 24-21209-LMI

      Debtors.                                              (Jointly Administered)
_______________________________/

      ORDER GRANTING DEBTORS’ MOTION SEEKING ENTRY OF AN ORDER (I)
     AUTHORIING THE DEBTORS TO PREPARE AND SUBMIT A SUPPLEMENT TO
    THE CREDITORS MATRIX IN DIFFERENT FORMAT AND GRANTING RELATED
                           RELIEF [ECF NO. ]

         THIS MATTER came before the Court on _____________, 2024 at ______ on the

hearing for the Debtors’ Motion Seeking Entry of an Order (I) Authorizing the Debtors to


1
  The Debtorss are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtorss is 1401 NW 25th Street, Miami, FL 33142.
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Prepare and Submit a Supplement to the Creditors Matrix in Different Format and Granting

Related Relief (the “Motion”) [ECF No. ____]. The Court, having reviewed the Motion, and

pleadings in this case, having heard arguments of counsel and being fully advised on the

premises, it is hereby,

       ORDERED, as follows:

       1.      The Motion is hereby GRANTED.

       2.      The Debtors are authorized to maintain a consolidated list of its creditors (the

“Master Service List”) in electronic format only and submitting a PDF version to the Court in

lieu of each Debtor filing a creditor matrix.

       3.      The Debtors shall make the Master Service List available in electronic form to

any party in interest who so requests (or in non-electronic form at such requesting party’s sole

cost and expense) in lieu of submitting a mailing matrix to the clerk of this Court.

       4.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

                                                ###
Submitted by:
Isaac M. Marcushamer, Esq.
DGIM Law, PLLC
Counsel for the Debtors
2875 NE 191st Street, Suite 705
Aventura, FL 33180
Phone: (305) 763-8708
Email: isaac@dgimlaw.com

[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of
record and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days
of entry of this Order]




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               EXHIBIT B




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                            MASTER SERVICE LIST


ShiftPixy Creditors         IPFS Corporation 3522          Roxborough Pomerance
(including Top 20)          Thomasville Rd                 NYE & Adreani
                            Tallahassee, FL 32309          5820 Canoga Ave
BairesDev LLC                                              Woodland Hills, CA 91367
800 W El Camino             KARLINSKY LLC
Mountain View, CA 94040     103 Mountain Rd                Sportslternship, LLC
                            Cornwall On Hudson, NY         23 Rancho Circle
Balanced Management, LLC    12520                          Lake Forest, CA 92630
10880 Wilshire Blvd. 19th
Floor                       Kenneth Weaver                 Sunz Insurance
Los Angeles, CA 90024       901 Riverside Drive            1301 6th Ave W
                            Old Hickory, TN 37138          Bradenton, FL 34205
Call & Jensen
810 Newport Center Dr       Lowenstein Sandler LLP         White & Case
Newport Beach, CA 92660     One Lowenstein Drive           SE Financial Ctr Ste
                            Roseland, NJ 07068             4900 Miami, FL 33131
Chirstopher A Sebes
5730 Claridon Drive         Marcum & Kliegman LLP          Whitney White
Naples, FL 34113            750 Third Ave                  100 Albert Way
                            New York, NY 10017             08540
CT Corporation
PO Box 4349                 Media Network Consultants      WORKIVA
Carol Stream, IL 60197      LLC                            2900 University Blvd
                            13245 Lower Harden Ave         Ames, IA 50010
Fisher Phillps LLP          Orlando, FL 32827
2050 Main St                                               ShiftPixy Staffing, Inc- Top
Irvine, CA 92614            MINTZ                          20 Creditors
                            666 Third Avenue
Florida Department of       New York, NY 10017             Balanced Management, LLC
Revenue                                                    10880 Wilshire Blvd. 19th
2450 Shumard Oak Blvd       Osborn Maledon                 Floor
Tallahassee, FL 32311       2929 N Central Ave             Los Angeles, CA 90024
                            Phoenix, AZ 85012
ICR LLC                                                    Gentry Partnership, Inc
761 Main Ave                Payne & Fears LLP              11523 Palmbrush Trail
Norwalk, CT 06851           4 Park Plaza                   Bradenton, FL 34202
                            Irvine, CA 92614
Internal Revenue Service                                   Judith Simpson
Centralized Insolvency      Rose, Snyder & Jacobs LLP      1939 Festival Court
Operation                   15821 Ventura Blvd             Joliet, IL 60435
PO Box 7317                 Encino, CA 91436
Philadelphia, PA 19101                                     Notice Parties
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Florida Department of        DGA SECURITY                   US FOODS
Revenue                      429 WST 53RD STREET            PO BOX 281838
2450 Shumard Oak Blvd        NEW YORK, NY, 10019            BOCA RATON, FL,
Tallahassee, FL 32311                                       30384-1838
                             FL POWER HOUSE
Internal Revenue Service     2310 NW 102ND PLACE            VIA Design Studio
Centralized Insolvency       DORAL, FL, 33172               103 Westward Drive
Operation                                                   Miami, FL, 33142
PO Box 7317                  FLORIDA POWER AND
Philadelphia, PA 19101       LIGHT FPL                      BREX GHOST KITCHEN
                             General Mail Facility          650 S 500 W Suite 300
Securities and Exchange      Miami, FL 33188-0001           Salt Lake City, UT 84101
Commission
801 Brickell Avenue          MILNER – USAGE                 Balanced Management, LLC
Suite 1950                   PO BOX 923197                  26 S. Rio Grande St. #2072
Miami, FL 33131              NORCROSS, GA, 30010-           Salt Lake City Utah, 84101
                             3197
Securities and Exchange                                     Balanced Management, LLC
Commission                   MILNER INC –                   441 Lexington Ave
100 F. Street NE             BRICKELL                       18th Floor
Washington, DC 20549         PO BOX 41602                   New York, NY 10017
                             PHILADELPHIA, PA,
A & A Ornamental, Inc        19101-1602                     Balanced Management, LLC
18731 SW 87th Ave                                           315 E 62 floor 3
Cutler Bay, FL, 33157        MILNER INC                     New York, NY, 10065
                             PO BOX 105743
ALLIED SPORTS LLC            ATANTA, GA, 30348-5743         Balanced Management, LLC
PO BOX 845785                                               1682 Pintail Way
BOSTON, MA, 02284-5785       Okin Pest Control              Sarasota, FL, 34231
                             2170 Piedmont Rd NE
BEST OFFICE COFFEE           Atlanta, GA, 30324-4135        Balanced Management, LLC
SERVICES                                                    3017 Bolling Way NE
13130 SW 130 TERRACE,        Premier Produce                Atlanta, GA, 10065
MIAMI, FL, 33186             2672 SW 36th St
                             Dania Beach, FL, 33312         Balanced Management
CINTAS                                                      Registered Agents Inc.
PO BOX 631025                Professional Window Tinters    7533 S. Center View CT
CINCINNATI, OH, 45263-       7385 Bird Rd (40th St)         Ste R
1025                         Miami, FL, 33155               West Jordan, UT, 84084

CK Administrative Services   RB INTERNATIONAL               AT&T
LLC                          SUPPLY CORP                    PO Box 6463,
777 S Figueroa Street,       7265 NW 44TH ST                Carol Stream, IL, 60197-
Suite 4100                   MIAMI, FL, 33166               6463
Los Angeles, CA, 90017
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First Impulse                MetLife Group Benefits         Whitney White
18 Goodyear, Suite 125,      PO Box 804466,                 100 Albert Way, Apt 1417,
Irvine, CA, 92618            Kansas City, MO,               Princeton, NJ, 08540
                             64180-4466
Intacct Dept 3237,                                          ICR LLC
PO Box 123237,               CT Corporation                 761 Main Ave,
Dallas, TX, 75312-3237       PO Box 4349,                   Norwalk, CT, 06851
                             Carol Stream, IL,
IPFS Corporation             60197-4349                     AmWINS Specialty
3522 Thomasville Rd,                                        Casualty Solutions
Suite 400,                   HUB International Insurance    10 S LaSalle St, Suite 1500,
Tallahassee, FL, 32309       Services Inc                   Chicago, IL, 60603
                             16030 Venture Blvd,
Oppenheim Insurance          Suite 500,                     Gallagher Bassett
Broker Inc.                  Encino, CA, 91436              Services, Inc
23742 Lyons Ave,                                            15763 Collections
PO Box 220957,               PrismHR                        Center Drive,
Newhall, CA, 91322           PO BOX 844768,                 Chicago, IL, 60693
                             Boston, MA, 02284-4768
LexisNexis                                                  Marcum & Kliegman LLP
28544 Network Place,         Kenneth Weaver
Chicago, IL, 60673-1285      901 Riverside Drive,           750 Third Ave 11th FL,
                             Old Hickory, TN, 37138         New York, 10017
Discount Edgar                                              Slavic Integrated
125 Wolf Road, Suite 315,    NOW CFO NEWPORT                Administration
Albany, NY, 12205            BEACH
                             5251 S Green Street,           1075 NW Brkn Snd Pkway,
Mark , Your Extended         Suite 350,                     Ste 100,
Office                       Murray, UT, 84123              Boca Raton, FL,
No. 128 SRP Koil Street                                     33487-3540
South,                       Nasdaq Corporate
Jawahar Nagar, Chennai,      Solutions, LLC                 Broadridge ICS
600 082, India               PO Box 780700,                 PO BOX 416423,
                             Philadelphia, PA,              BOSTON, MA, 02241-6423
Pitney Bowes                 19178-0700
PO Box 371874,                                              Mediant
Pittsburgh, PA, 15250-7874   Staff Benefits                 Communications Inc.
                             Management, Inc                PO BOX 29976,
Slavic 401K                  2307 FENTON PARKWAY            NEW YORK, NY, 10087-
1075 Broken Sound Pkwy       #107-126,                      9976
NW, Suite 100,               San Diego, CA, 92108
Boca Raton, FL, 33487-                                      Gordon Rees Scully
3540                         Restaurant Finance Monitor     Mansukhani, LLP
                             2808 Anthony Lane South,       275 Battery Street, 20th Fl,
                             Minneapolis, MN, 55418         San Francisco, CA, 94111
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SUNZ INSURANCE              KARLINSKY LLC                  ADP/MASTER TAX
1301 6th Ave W,             103 Mountain Road,             MasterTax, LLC
Bradenton, FL 34205         Cornwall-On-Hudson, NY,        111 W. Rio Salado Parkway,
                            12520                          Tempe, AZ 85257
ELITE BUSINESS
VENTURES                    BairesDev LLC                  Christopher A Sebes
PO BOX 6510,                c/o Tyler R. Dowdall, Esq.,    5730 Claridon Drive,
PASADENA, CA, 91109         Tarter Krinsky & Drogin,       Naples, FL, 34113
                            LLP,
Fisher Phillps LLP          1925 Century Park East,        BREX CC
2050 Main St, Suite 1000,   Suite 400N,                    Brex Payments LLC
Irvine, CA, 92614           Los Angeles, California        650 S 500 W., Suite 300,
                            90067                          Salt Lake City, UT 84101
SullivanCurtisMonroe Ins
Serv LLC                    NATPAY                         GITLAB INC
1920 Main St, Suite 600,    3415 W Cypress St,             PO BOX 8244,
Irvine, CA, 92614           Tampa, FL 33607                PASADENA, CA, 91109-
                                                           8244
Innovative Coverage         CUSIP GLOBAL
Concepts LLC                SERVICES                       eFax Corporate
c/o Arthur J Gallagher &    55 WATERS ST,                  C/O J2 Cloud Services LLC,
Co,                         NEW YORK, NY, 10041            PO BOX 51873,
200 Jefferson Park,                                        LOS ANGELES, CA,
Ste 110 - 200,              SearchGeeks                    90051-6173
Whippany, NJ, 07981         701 Palomar Airport Rd.
                            #170,                          Media Network Consultants
KPA SERVICES LL             Carlsbad CA 92011              LLC
PO Box 83301,                                              13245 Lower Harden Ave,
Woburn, MA, 01813-3301      CDW DIRECT                     Orlando, FL, 32827
                            200 N. MILWAUKEE
OSBORN MALEDO               AVE,                           Toppan Merrill LLC
2929 N CENTRAL AVE,         VERNON HILLS, IL,              PO BOX 74007295,
21 FLOOR,                   60061                          CHICAGO, IL, 60674
PHOENIX, AZ, 85012
                            Richard DeBeikes               TENNESSE DEPT OF
Cloudflare, Inc             23241 Ventura Blvd Ste         REVENUE
Mail Code: 5267,            224C,                          500 DEADERICK ST,
PO Box 660367,              Woodland Hills, CA, 91364      ANDREW JACKSON ST
Dallas, TX, 75266-0367                                     OFFICE BLD,
                            MINTZ                          NASHVILLE, TN, 37242
TEKWORKS                    Chrysler Center,
13000 Gregg Street,         666 Third Avenue,              ARTHUR J GALLAGHER
Poway, CA, 92618-7411       New York, NY, 10017            RK MGMT SRV
                                                           PO BOX 532143,
                                                           ATLANTA, GA, 30353
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INTRADO DIGITAL              ELITE AUDIO VIDEO OF          Specialty Marketing
MEDIA, LLC                   SO FL                         Consulting Inc
C/O INTRADO                  12241 SW 185TH ST,            c/o Kimberly Peters,
CORPORATION,                 MIAMI, FL, 33177              PO Box 6700,
PO BOX 74007143,                                           Pine Mountain Club, CA,
CHICAGO, IL, 60674-7143      MILNER INC                    93222
                             PO BOX 105743,
ANKURA                       ATANTA, GA, 30348-5743        WASTE MANAGEMENT
201 E WASHINGTON ST,                                       INC FL
SUITE 1700,                  Sports1ternship, LLC          8801 NW 91ST STREET,
PHOENIX, AZ, 85004           23 Rancho Circle,             MEDLEY, FL, 33178
                             Lake Forest, CA, 92630
PETTIT KOHN                                                Plant Care
11622 EL CAMINO REAL,        LEAPROS WORKFORCE             PO Box 50115,
SUITE 300,                   SOLUTIONS                     Lighthouse Point, FL, 33074
SAN DIEGO, CA, 92130         PO BOX 432,
                             HUNTINGTON BEACH,             RB INTERNATIONAL
DGA SECURITY                 CA, 92648                     SUPPLY CORP
429 WST 53RD STREET,
NEW YORK, NY, 10019          Roxborough Pomerance          7265 NW 44TH ST,
                             NYE & Adreani                 MIAMI, FL, 33166
TMF SERVICES                 5820 Canoga Ave, Suite
HONDURAS                     250,                          WHITE & CASE
Colonia Lomas del Guijarro   Woodland Hills, CA, 91367
Sur,                                                       SE FINANICAL CTR STE
Domicilio Alquilado,         FLORIDA POWER AND             4900,
Contiguoa Plaza Ficohsa,     LIGHT                         200 S BISCAYNE BLVD,
Casa #5,                     21400 Powerline Road          MIAMI, FL, 33131-2352
5to Nivel. Tegucigalpa       Boca Raton, FL 33433
M.D.C. Honduras                                            MILNER - USAGE
                             LOEB & LOEB LLP               PO BOX 923197,
LANIER PARKING               345 PARK AVE,                 NORCROSS, GA, 30010-
647 BRICKELL KEY DR,         NEW YORK, NY, 10154           3197
SUITE 1,
MIAMI, FL, 33131             TRUSAIC                       BEST OFFICE COFFEE
                             3530 WILSIRE BLVD,            SERVICES
RUNWAY 1 LLC                 SUITE 1460,                   13130 SW 130 TERRACE,
250 Greenpoint Ave,          LOS ANGELES, CA, 90010        MIAMI, FL, 33186
Brooklyn, NY, 11222
                             BAKER TILLY US, LLP           US FOODS
EQUISOLVE                    PO Box 511563,                PO BOX 281838,
3500 SW Corporate Pkwy,      Los Angeles, CA, 90051-       BOCA RATON, FL, 30384-
Palm City, FL 34990          8118                          1838
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AGP/ALLIANCE GLOBAL         ALLIED SPORTS LLC              American Recruiting &
PARTNERS                    PO BOX 845785,                 Consulting Group
590 MADISON AVE,            BOSTON, MA, 02284-5785         2200 N Commerce Pkwy,
NEW YORK, NY, 10022                                        Suite 200,
                            UNITED HEALTHCARE              Weston, FL, 33326
Sperling & Slater PC        PO BOX 111111,
55 West Monroe Street,      NEW TOWN, MO, 93195-           STERICYCLE
Suite 3200,                 9782                           28883 NETWORK PLACE,
Chicago, IL, 60603                                         CHICAGO, IL, 60673-1288
                            AMWINS GROUP
EL TORO LLC                 BENEFITS                       ARRAY
552 E MARKET STREET,        PO BOX 71051,                  624 S AUSTIN AVE,
LOUISVILLE, KY, 40202       CHARLOTTE, NC, 28272-          SUITE 230,
                            1051                           GEORGETOWN, TX,
VERIFONE INC                                               78626-5758
c/o Colliers Int'l Lease    WORKIVA
Admin,                      2900 UNIVERSITY BLVD,          Professional Window
301 University Ave, Ste     AMES, IA, 50010                Tinters
100,                                                       7385 Bird Rd (40th St),
Sacramento, CA, 95825       JOBOT, LLC                     Miami, FL, 33155
                            18575 JAMBOREE RD,
ENCORE                      SUITE 600,                     VIA Design Studio
EVENT TECHNOL               IRVINE, CA, 92612              103 Westward Drive,
CEASARS PALACE,                                            Miami, FL, 33142
8850 W SUNSET RD, 3RD       HEISE SUAREZ
FL,                         MELVILLE, P.A.                 Lamb McErlane PC
LAS VEGAS, NV, 89148        2990 Ponce de Leon Blvd,       24 E. Market St, PO Box
                            Suite 300,                     565,
MINERAL INC                 Coral Gables, FL, 33134        West Chester, PA, 19381
6701 Koll Center Parkway,
Suite 430,                  MILNER INC - BRICKELL          VERITEXT, LLC
PLEASANTON, CA, 94566       PO BOX 41602,                  PO BOX 71303,
                            PHILADELPHIA, PA,              CHICAGO, IL, 60694-1303
BUSINESS WIRE DEPT          19101-1602
34182                                                      Audio Video Cameras Serv
PO BOX 39000,               SICHENZIA ROSS                 Corp
SAN FRANCISCO, CA,          FERENCE LLP                    AUDIO VIDEO CAMERA
94139                       1185 AVE OF THE                & SERVICES CORP.
                            AMERICAS,                      3600 W PALM CT,
CINTAS                      31ST FLOOR,                    HIALEAH, FL 33012
PO BOX 631025,              NEW YORK, NY, 10036
CINCINNATI, OH, 45263-                                     Berkowitz Pollack Brant
1025                                                       Advisors CPA
                                                           PO Box 735244,
                                                           Dallas, TX, 75373-5244
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Klein & Wilson               FRANCHIMP LTD                   Grasso Global Inc
4770 Von Karman,             Kristine M Rogalewski-          Levinson Arshonsky Kurtz
Newport Beach, CA, 92660     Mayo                            & Komsky LLP
                             18531 N Steet,                  15303 Ventura Blvd, Suite
SolutionCore Inc             Scottsdale, AZ, 85255           1650,
9742 Hibiscus Drive,                                         Sherman Oaks, CA, 91403
Garden Grove, CA, 92841      AppsFlyer
                             100 1 ST St, 25th FL,           4te Inc
Huggins Actuarial Services   San Francisco, CA, 94105        PO Box 4048,
Inc                                                          Mission Viejo, CA, 92690-
111 Veterans Square, Third   Morris, Nichols, Arsht &        4048
Floor,                       Tunnell LLP
Media, PA, 19063             1201 N Market St, 16th FL,      Marlins Baseball
                             PO Box 1347,                    501 Marlins Way,
Philadelphia Ins Co          Wilmington, DE, 19899-          Miami, FL 33125
PO BOX 70251,                1347
PHILADELPHIA, PA,                                            Payne & Fears LLP
19176-0251                   FL POWER HOUSE                  4 Park Plaza, Suite 1100,
                             2310 NW 102ND PLACE,            Irvine, CA, 92614
GUMMICUBE, INC               DORAL, FL, 33172
50 E ST JOHN ST,                                             A & A Ornamental, Inc
SAN JOSE, CA, 95112          Call & Jensen                   18731 SW 87th Ave,
                             810 Newport Center Dr,          Cutler Bay, FL, 33157
Email Outreach Company       Suite 700,
651 N Broad St, Suite 206,   Newport Beach, CA, 92660        Premier Produce
Middletown, Delaware,                                        2672 SW 36th St,
19709                        Launay Patrice, PEJ             Dania Beach, FL, 33312
                             CONSULTING
OKTA INC                     1560 Sawgrass Corporate         Navarro Hernandez P
100 FIRST STREET,            Pkwy,                           66 W Flagler St 6th FL,
SUITE 600,                   4th FL Suite 423-C,             Miami, FL, 33130
SAN FRANCISCO, CA,           Sunrise, FL, 33323
94105                                                        Gentry Partnership In
                             Marquis Aurbach Chtd            11523 Palmbrush Trail,
Calabrese Consulting LLC     10001 Park Run Drive,           Suite 193,
24 North King Street,        Las Vegas, NV, 89145            Lakewood Ranch, FL,
Malverne, NY, 11565                                          34202
                             CK Administrative Services
GUROCK                       LLC                             Okin Pest Control
0801 N Mopac Expressway,     777 S Figueroa Street, Suite    2170 Piedmont Rd NE
Building 1, Suite 100,       4100,                           Atlanta, GA, 30324-4135
Austin, TX, 78759            Los Angeles, CA, 90017
                                                             MELTWATER NEWS U
                             Enlyte                          Dept LA 23721,
                             PO Box 88026,                   Pasadena, CA, 91185-3721
                             Chicago, IL, 60680-102
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Bright Labs Services LLC     ipCapital Group Inc            Prequin Limited
485 Lexington Ave 10th FL,   426 Industrial Ave, Suite      1st Floor, Verde, 10
New York, NY, 10017-2619     150,                           Bressenden Place,
                             Willston, VT, 05495-4459       London, United Kingdom,
J David Tax Law LLC                                         SW1E 5DH, United
7077 Bonneval Road, Suite    Meadows Collier Attorney       Kingdom
200,                         At Law
Jacksonville, FL, 32216      901 Main Street, Suite 3700,   Lemke Mediation
                             Dallas, TX, 75202              515 S Flower St, Suite 1800,
New Benefits                                                Los Angeles, CA, 90071
Alexandra Gonzalez Zabala    Arondight Advisors
Judith Simpson               120 Wall St,                   Miami-Dade Office of the
1839 Festival Court,         New York, New York,            Tax Collector
Joliet, IL, 60435            11209                          Tangible Personal Property
                                                            200 NW 2nd Avenue,
Asurint                      Widgets & Web LLC              Miami, FL 33128
File 2418,                   19500 194th Trl,
1801 W Olympic Blvd,         Golden Beach, FL, 33160        Securities and Exchange
Pasadena, CA, 9119-2418                                     Commission
                             Lydecker LLP                   100 F Street, NE,
Trenan Law                   1221 Brickell Ave, 19th FL,    Washington, DC 20549
PO Box 1102,                 Miami, FL, 33131
Tampa, FL, 33601-1102                                       NASDAQ
                             BTERREL GROUP                  51 West 42nd Street, Floors
Empire Marketing Ventures    4324 Mapleshade Ln, Suite      26, 27, 28,
LLC                          103,                           New York, NY 10036
383 Madison Ave,             Plano, TX, 75093
New York, NY, 10017                                         IRS - Department of the
                             nFusion Capital Finance        Treasury
Rose, Snyder & Jacobs LLP    LLC                            Ogen, UT 84201
15821 Ventura Blvd, Suite    6444 Burnet Rd Unit 100,
490,                         Austin, TX 78757               Arizona Department of
Encino, CA, 91436                                           Economic Security
                             Lowenstein Sandler LLP
Martin Scott                 One Lowenstein Drive,          PO Box 6028, Mail Drop
19180 Skyridge Circle,       Roseland, New Jersey 07068     5881,
Boca Raton, FL, 33498                                       Phoenix, AZ 85005
                             QB Animation Inc
Norman S Gerstein PA         320 Lighthouse Drive,          Arizona Department of
5966 S. Dixie Highway,       Palm Beach Gardens, FL,        Revenue
Suite 300,                   33410                          PO Box 29085,
Miami, FL, 33143                                            Phoenix, AZ 85038
                             Traliant Operating LLC
Doug Greene                  PO Box 844090,
6805 Ingalls Court,          Boston, MA, 02284-4090,
Galena, OH, 43021
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California Employment         Idaho State Tax                  Minesota Deptment of
Development Department        Commission                       Revenue
PO Box 989061,                11321 W Chinden Blvd,            Collection Division
West Sacramento, CA           Boise ID 83714                   PO Box 64651,
95798                                                          Saint Paul, MN 55164
                              IOWA Workforce
California Employment         Development                      Missouri Department of
Development Department        Unemployment Insurance           Revenue
Treasury Offset Program       Tax Bureau                       Taxation Division
PO Box 997418                 1000 E Grand Avenue,             PO Box 3375,
Sacramento, CA 95899          Des Moines, IA 50319             Jefferson City, MO 65105

California Employment         Illinois Department of           New Jersey Department of
Development Department        Employment Security              Labor and Workforce
3321 Power Inn Road,          Revenue Collection               Development
Suite 140, #759               Enforcement Unit                 Division of Employer
Sacramento, CA 95826          33 S State Street, 10th Floor,   Accounts
                              Chicago, IL 60603                PO Box 059,
DC Office of Tax and                                           Trenton, NJ 08646
Revenue- Compliance           Illinois Department of
Administration                Revenue                          New Jersey Department of
1101 4th Street SW,           PO Box 19006,                    Labor and Workforce
Washington, DC 20024          Springfield, IL 62794            Development
                                                               Delinquency Unit
Florida Department of         Kansas Department of             PO Box 932,
Revenue                       Revenue                          Trenton, NJ 08625
5050 West Tennessee Street,   Division of Taxation
Tallahassee, FL 32399         12 SE 10th Avenue,               New Jersey Department of
                              Topeka KS 66625                  the Treasury
Florida Department of                                          Division of Taxation
Revenue                       Kansas Department of             PO Box 1009,
Miami Service Center          Revenue      Division of         Moorsetown, NJ 08057
3750 NW 87th Avenue,          Taxation
Suite 300,                    PO Box 3506, Avenue,             New Mexico Department of
Doral, FL 33178               Topeka, KS 66625                 Workforce Solutions
                                                               PO Box 1928,
Idaho Department of Labor-    Massachusetts Department         Albuquerque, NM 87103
Collection Enforcement        of Revenue
Unit 317 W Main Street,       100 Cambridge Street,            New Mexico Taxation &
Boise, ID 83735               Boston, MA 02204                 Revenue
                                                               PO Box 25128,
Idaho State Tax               Michigan Department of           Santa Fe, NM 87504
Commission                    Treasury
PO Box 36,                    PO Box 30756,
Boise, ID 83722               Lansing, MI 48909
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New York Employment           Michigan Department of         Osher Capital Partners, LLC
Contributions and Taxes       Treasury                       c/o LH Financial
PO Box 4119                   City Tax Administration        510 Madison Ave
Binghamton, NY 13902          P.O. Box 30756                 14th Floor
                              Lansing, MI 48909              New York, NY 10022
New York Department of
Labor- Unemployment           Tennessee Department of        Drexel Hamilton, LLC
Insurance                     Labor & Workforce              77 Water ST
PO Box 4301                   Development                    New York, NY 10005
Brimingham, NY 13902          Employment Security
                              Division,                      Stifel Financial
New York Department of        Employer Accounts Audit        510 N. Broadway
Labor- Unemployment           220 French Landing Drive,      Saint Louis, MO 63108
Insurance Div                 Nashville, TN 37243
PO Box 15012                                                 National Payment
Albany, NY 12212              Virginia Department of         Corporation
                              Taxation                       3415 W Cypress Street
New York Department of        PO Box 1115.                   Tampa, FL 33607
Labor- Unemployment           Richmond, VA 23218-1115.
Insurance Div
Enforcement Unit              Virginia Department of
PO Box 4305                   Taxation
Binghamton, NY 13902          PO Box 1777,
                              Richmond, VA 23218
New York Department of
Taxation and Finance          Employment Development
Civil Enforecement Division   Department
- Offset Unit W A             722 Capitol Mall
Harriman Campus,              Sacramento, CA 95814
Albany NY 12227
                              Alpha Capital Anstalt
Oklahoma Tax Commission       c/o LH Financial
Oklahoma City, OK 73194       510 Madison Avenue
                              14th Floor
Pennsylvania Department of    New York, NY 10022
Labor & Industry
Office of Unemployment        Dominion Capital, LLC
Compensation Tax Services     341 West 38th Street
651 Boas Street, Room 915,    Suite 800
Harrisburg, PA 17121          New York, NY 10018

                              MEF I, LP
                              40 Wall Street
                              New York, NY 10005
